GOLDSTEIN & RUSSELL, P.C.
                                                                                     7475 Wisconsin Ave.
                                                                                               Suite 850
                                                                                     Bethesda, MD 20814


                                              June 10, 2019

The Honorable Margo K. Brodie
U.S. District Court for the Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

         Re:         In re Payment Card Interchange Fee & Merchant Discount Antitrust Litigation,
                     1:05-md-01720-MKB-JO (E.D.N.Y).

Dear Judge Brodie:

        Counsel for the merchant objectors hereby give notice that they presently intend to file—
by the July 23, 2019 deadline for objector filings set forth in your Rule 23(b)(3) Class Settlement
Preliminary Approval Order (Doc. 7361)—an objection to class counsel’s Motion for Attorneys’
Fees only to the limited extent that class counsel’s motion fails to allocate a portion of class
counsel’s fees to counsel for the successful merchant objectors. Counsel for the merchant
objectors believe that such fees are appropriate because they coordinated and led the effort to
successfully object to the previous iteration of the class settlement agreement in this case—
including the successful appeal to the Second Circuit and opposition to certiorari in the Supreme
Court. Class counsel have themselves acknowledged that these efforts ultimately led to materially
and substantially better terms for the class in the Superseding Settlement Agreement, the final
approval of which is currently pending before this Court. In re Payment Card Interchange Fee &
Merch. Disc. Antitrust Litig., 827 F.3d 223 (2d Cir. 2016); see also Doc. 6676 (describing efforts
of Goldstein & Russell, P.C. attorneys in assisting with objections to initial settlement agreement
and obtaining material relief for the class before the Second Circuit); Doc. 7469-1 at 3-4 (class
counsel describing improved settlement); Doc. 7471-1 at 16-18 (same).

        Counsel’s understanding is that their objector-fee filing is due by July 23, 2019. Under the
terms of the Court’s Rule 23(b)(3) Class Settlement Preliminary Approval Order, objectors “shall
have until one hundred eighty days after the Court’s entry of the [Order] … to submit an objection
to … any request for Attorneys’ Fee Awards.” Doc. 7361 ¶ 18. The Order was entered on January
24, 2019, and class counsel filed their fee request on June 7, 2019—as the order likewise directs.
See id. ¶ 22 (providing date by which “Rule 23(b)(3) Class Counsel will file all motions and
supporting papers seeking … the Court’s approval of any Attorneys’ Fee Awards . . . with respect
to their representation of merchants in MDL 1720, which culminated in the Superseding
Settlement Agreement”) (emphasis added). Thus, the anticipated, limited objection to class
counsel’s motion for attorneys’ fees should be due by Tuesday, July 23, 2019—180 days from the
original order, and 45 days from the date of the motion to which it responds. Class counsel will
then have 40 days to respond to the merchant objectors’ filing, consistent with the Preliminary
Approval Order. Doc. 7361 ¶ 28.

(202) 362-0636                                                                   www.goldsteinrussell.com
(866) 574-2033 fax
Page | 2

        Counsel for the R&M objectors filed a motion for objector fees on June 7, 2019—the same
day as class counsel filed their motion. Counsel for the merchant objectors agree with the R&M
objectors’ position that a portion of the fees requested by class counsel should be reserved for
counsel for the successful objectors, and presently intend to complete their own, more-detailed
filing to that effect by July 23. However, to the extent the Court believes that counsel for the
merchant objectors should file such motion by an earlier date, they are prepared to file as
expeditiously as necessary.

                                            Respectfully submitted,




                                            Eric Citron




(202) 362-0636                                                               www.goldsteinrussell.com
(866) 574-2033 fax
